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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

PITTSFIELD DEVELOPMENT, LLC,                  )
et al.,                                       )
                                              )
                               Plaintiffs,    )
                                              )
               v.                             )       No. 17-CV-1951
                                              )       Honorable Charles P. Kocoras
CITY OF CHICAGO,                              )       Magistrate Judge Sidney I. Schenkier
                                              )
                               Defendant.     )

         DEFENDANT CITY OF CHICAGO’S MOTION TO STAY DISCOVERY
          PENDING RESOLUTION OF DEFENDANT’S MOTION TO DISMISS
                    AND MOTION FOR RECONSIDERATION

       Defendant, City of Chicago, by its counsel, Edward N. Siskel, Corporation Counsel for

the City of Chicago, hereby respectfully moves this Honorable Court for an order staying

discovery pending resolution of Defendant’s Motion to Dismiss Plaintiffs’ Amended Complaint

and Motion for Reconsideration. In support of this motion, the City states as follows:

1.     On January 16, 2018, Plaintiffs Pittsfield Development, LLC (“Development”), Pittsfield

Residential II, LLC, (“Residential”) and Pittsfield Hotel Holdings, LLC (“Hotel”) filed their First

Amended Complaint (the “Amended Complaint”) challenging the rezoning of the Pittsfield

Building located at 55 E. Washington St., Chicago, Illinois from DX-16 to DR-10 (“the

“Ordinance”). (Dkt. 29.) The Amended Complaint is fundamentally different from the prior

pleading in relation to the appropriateness of discovery at this juncture.

2.     The Amended Complaint is divided into five counts. In Counts I and II, respectively,

Hotel claims that the new zoning classification, which does not permit a hotel use, resulted in

total regulatory takings of its property interests in floors 2-9 of the Pittsfield Building and of a

building permit allowing it to develop those floors into a hotel. In Counts III through V,
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Plaintiffs bring putative substantive due process challenges alleging that the Ordinance

arbitrarily interfered with their property interests in the Pittsfield Building. (Dkt. 29.) As to the

regulatory takings claims, Hotel continues to allege that the Ordinance deprived its floors of the

Pittsfield Building (floors 2-9) and its building permit of all economically viable use, just as it

did in the initial pleading.

3.      Although Hotel continues to claim that its interests in the Pittsfield Building were

rendered valueless, the Amended Complaint (repled by order of this Court) admits, for the first

time, that Plaintiffs sold their collective real property in the Pittsfield Building for $20,800,000

on June 29, 2017. (Dkt. 29 ¶ 59.) Moreover, Development’s court filings in a related bankruptcy

action, In re: Pittsfield Development, LLC, Case No. 17-09513 (Bankr. N.D. Ill.), establish that

Plaintiffs received numerous prior offers for their interests in the Pittsfield Building soon after

retaining a broker to sell the property. The purchase offers included, but were not limited to,

offers of $16,500,000 and $16,000,000. See Motion to Dismiss Am. Compl., Exs. A, B. The

purchase price and the prior offers included Hotel’s floors of the Pittsfield Building. Id.; (dkt. 29

¶¶ 59, 61.)

4.      On November 28, 2017, the Court granted in part and denied in part the City’s motion to

dismiss Plaintiffs’ initial pleading. (Dkt. 20.) The Court permitted Hotel’s total regulatory

takings claim premised on its interests in floors 2-9 of the Pittsfield Building and its purported

property interest in its building permit to survive. (Id.) Plaintiffs’ substantive due process claims

alleging that the Ordinance arbitrarily interfered with their property interests in the building also

survived the City’s motion. (Id.)

5.      In ruling on Hotel’s takings claim related to floors 2-9 of the building, the Court reasoned

that Plaintiffs need not, at the pleadings stage, plead in “exacting detail the fiscal perils of the

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uses that the City, by passing the Downzoning Ordinance, has confined Hotel to pursue.” (Dkr.

20 at 19.) The Court also noted that even though Plaintiffs had adequately pled deprivation of all

economically beneficial uses of floors 2-9, “[f]act discovery may well prove otherwise.” (Dkt. 20

at 20.)

6.        Plaintiffs sold their Pittsfield property and received numerous prior substantial offers.

Thus, actual events in the free market have overtaken any need for further discovery as to

whether Hotel’s interests in the Pittsfield Building retained value following the Ordinance’s

passage. The City is filing a Motion to Dismiss Plaintiffs’ Amended Complaint in full and a

Motion for Reconsideration as to the Court’s November 28, 2017 ruling on its initial motion to

dismiss. By the instant motion, the City requests that the Court enter an order staying discovery

pending its resolution of its new Motion to Dismiss and Motion for Reconsideration.

7.        The Court has discretion under Rule 26 to “limit the scope of discovery or to order that

discovery be conducted in a particular sequence. Builders Ass’n of Greater Chicago v. City of

Chicago, 170 F.R.D. 435, 437 (N.D. Ill. 1996); Fed. R. Civ. P. 26(b)-(d). The Federal Rules also

grant trial courts broad discretion over the timing and extent of discovery. Clinton v. Jones, 520

U.S. 681, 706 (1997); Brown-Bey v. United States, 720 F.2d 467, 470 (7th Cir. 1983). It is

appropriate to stay discovery pending resolution of a motion to dismiss where the requested

discovery would not help resolve the motion. Sprague v. Brook, 149 F.R.D. 575, 577 (N.D. Ill.

1993). Courts are more likely to grant motions to dismiss that raise threshold issues, such as

standing or mootness. See, e.g., Landstrom v. Ill. Dep’t of Children & Family Servs., 892 F.2d

670, 674 (7th Cir. 1990); United States Catholic Conference v. Abortion Rights Mobilization,

Inc., 487 U.S. 72, 79-80 (1988) (“It is a recognized and appropriate procedure for a court to limit

discovery proceedings at the outset to a determination of jurisdictional matters”).

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8.      A stay of discovery is warranted. The City’s Motion to Dismiss is likely to result in the

dismissal of Plaintiffs’ claims, which depend on their assertion that the Ordinance rendered

Hotel’s interests in the Pittsfield Building worthless, in full.

9.      Plaintiffs’ new admissions in the Amended Complaint and Development’s bankruptcy

court filings establish that Plaintiffs’ collective interests in the Pittsfield Building retained

considerable market and development value following the Ordinance’s passage. (Dkt. 29 ¶¶ 59,

61); Motion to Dismiss Am. Compl., Exs. A, B. Where a property retains significant market or

development value following a challenged governmental law or decision, there can be no total

regulatory taking. Hawkeye Commodity Promotions, Inc. v. Vilsack, 486 F.3d 430, 440 (8th Cir.

2007) (holding that no total regulatory taking of gambling machines occurred because the

plaintiff could, inter alia, sell the machines); Palazzolo v. Rhode Island, 533 U.S. 606 (2001)

(holding that no total regulatory taking occurred where the plaintiff’s property retained a

“development value” of $200,000).

10.     Plaintiffs also plead that Hotel’s building permit is a property interest separate and

distinct from their real property related to the Pittsfield Building. (Dkt. 29 ¶ 15). Thus, Hotel’s

Lucas claim as to this issue must be dismissed. Lucas applies only to real property. Parkridge

Investors, Ltd. P’ship v. Farmers Home Admin., 13 F.3d 1192, 1199 (8th Cir. 1994) (holding that

Lucas does not apply to a claimed property interest in the right to prepay a loan); Hawkeye

Commodity Promotions, Inc., 486 F.3d at 441 (“Thus, it appears that Lucas protects real property

only.”).

11.     Plaintiffs’ substantive due process claims also fail, as they allege no independent

constitutional violation or anything more than a conclusory allegation as to the inadequacy of



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state law remedies. Indeed, Development and Residential do not even allege an independent

constitutional cause of action. (See Dkt. 29, Cts. IV, V.)

12.     The City also raises standing and mootness defenses in its Motion to Dismiss, premised

largely on Plaintiffs’ sale of their Pittsfield property, further underscoring the need to stay

discovery. Any claims relying on Plaintiffs’ purported vested rights interests in developing the

property in accordance with their original plans under Illinois’ vested rights doctrine have been

rendered moot following the sale of the building. Importantly, Hotel, which now alleges that

floors 2-9 of the building suffered a mere diminution in value, has suffered no injury-in-fact to a

legally protected interest that would entitle it to pursue a total regulatory takings claim. Further,

the alleged diminution in value cannot be redressed by a favorable ruling on a total regulatory

takings cause of action.

13.     Finally, the City would be unfairly prejudiced and incur significant, unnecessary expense

were it required to engage in discovery as to issues that have already been established by

Plaintiffs’ own pleading and Development’s bankruptcy court filings. This is all the more so in

light of the fact that jurisdiction is challenged by way of the standing and mootness arguments.

14.     Counsel for the City conferred with Plaintiffs’ counsel regarding the instant motion on

February 2, 2018, and counsel stated that he would not agree to the motion.

        WHEREFORE, Defendant City of Chicago respectfully requests that the Court enter an

order staying discovery pending its resolution of the City’s Motion to Dismiss and Motion for

Reconsideration, and for any other relief that the Court deems just and proper.




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Date: February 20, 2018                         Respectfully submitted,

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